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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 UNITED STATES OF AMERICA,                        §
                                                  §
         Plaintiff,                               §
                                                  §
 v.                                               §
                                                        Criminal Action No. 4:21-cr-5-O
                                                  §
 THE BOEING COMPANY,                              §
                                                  §
         Defendant.                               §

                                              ORDER

       Having considered the Joint Status Report and Motion for Exclusion of Time Under the

Speedy Trial Act filed by the United States of America and The Boeing Company, the Court

hereby ORDERS that:

       The parties continue to meet and confer and provide the Court with an update on how they

plan to proceed in this matter by no later than March 14, 2025; and

       Because the ends of justice are served by allowing the parties additional time to meet and

confer on a potential resolution of this case short of trial, the period of February 16, 2025, to March

14, 2025, is hereby excluded from the computation of time in which a trial must be commenced

under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A).

       SO ORDERED on this 17th day of February, 2025.




                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
